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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
US DOMINION, INC. et al.,                    )
                                             )
               Plaintiffs,                   )              Case No. 1:21-cv-00445-CJN
                                             )                  Judge Carl J. Nichols
       v.                                    )
                                             )
MY PILLOW, INC. et al.,                      )
                                             )
               Defendants.                   )
                                             )


                                       Notice of Joinder

       No motions or memoranda were filed by either of the parties on the docket in this case

concerning the proposed deposition protocol in the cases brought by Dominion and consolidated

for purposes of discovery. For the avoidance of doubt, Defendants My Pillow, Inc. and Michael

Lindell join the position and arguments submitted by the Herring Parties, which was filed in US

Dominion, Inc. et al. v. Herring Networks, Inc., et al., no. 1:21-cv-02130-CJN, as docket no. 152.



DATED: November 9, 2023.                     PARKER DANIELS KIBORT LLC

                                             By /s/ Andrew D. Parker
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